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    COUNSEL FOR THE PEOPLE OF
    THE STATE OF NEW YORK, BY
    LETITIA JAMES, ATTORNEY GENERAL
    OF THE STATE OF NEW YORK

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                  §
                                                        §   CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                              §
OF AMERICA and SEA GIRT LLC,                            §   CHAPTER 11
                                                        §
                  Debtors1.                             §   Jointly Administered

                                     NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that the undersigned counsel, representing the People of the

State of New York, By Letitia James, Attorney General of the State of New York, hereby enters

this Notice of Appearance and Request for Service of Notices and Documents pursuant to the

Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure, and the Northern

District of Texas Local Rules, and requests that copies of all notices, pleadings, and other

documents filed in the above-captioned case, as required under Federal Rules of Civil Procedure,


1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.



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the Federal Rules of Bankruptcy Procedure, and the Northern District of Texas Local Rules be

served at the following address:

                                    James Sheehan
                      New York Third Department Bar No. 4552055
                                      Emily Stern
              New York Second Department Appellate Division Bar No. 2647220
                                    Monica Connell
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                               Email: Monica.Connell@ag.ny.gov


       PLEASE TAKE FURTHER NOTICE that, pursuant to the Federal Rules of Civil

Procedure, the foregoing demand includes not only the notices and papers referred to in the Federal

Rules of Civil Procedure and the Federal Rules of Bankruptcy Procedure, but also includes,

without limitation, notices of any application, complaint, demand, hearing, motion, petition,

pleading, or request, whether formal or informal, whether written or oral, and whether transmitted

or conveyed by mail, delivery, telephone, telegraph, telex or otherwise, filed in the above-

captioned case.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance is not intended to be,

and shall not constitute, a waiver of any rights, claims, counterclaims, actions, defenses,

jurisdictional objections, to which the New York Attorney General is or may be entitled under

arguments, in law or in equity, all of which are expressly reserved.




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Dated: February 2, 2021.                      Respectfully submitted,

                                              /s/James Sheehan
                                              James Sheehan
                                              New York Third Department Bar No. 4552055
                                              Emily Stern
                                              New York Second Department Appellate Division
                                              Bar No. 2647220
                                              Monica Connell
                                              New York State Bar No. 3070943

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                                              COUNSEL FOR THE PEOPLE OF
                                              THE STATE OF NEW YORK, BY
                                              LETITIA JAMES, ATTORNEY GENERAL
                                              OF THE STATE OF NEW YORK


                                CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2021, a true and correct copy of the foregoing was
served upon all parties entitled to notice, including the Debtors and United States Trustee, via the
Court’s electronic transmission facilities.

                                                     /s/ Gerrit M. Prons
                                                     Gerrit M. Pronske




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